      Case 5:18-cv-01100-BKS-TWD Document 15 Filed 12/03/18 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF NEW YORK


    JANE DOE,                                       )
                                                    )
                            Plaintiff,              ) Case No.: 5:18-cv-01100-BKS-TWD
                                                    )
                      v.                            )
                                                    )
                                                    ) MOTION TO WITHDRAW AS
                                                    ) COUNSEL OF RECORD
    SYRACUSE UNIVERSITY,                            )
                                                    )
                                                    )
                            Defendant.




       Pursuant to Local Rule 83.2, Park Legal Counsel Group, PLLC (“Movant”) hereby notifies

the Court and the parties of its intent to withdraw as counsel for Plaintiff. Movant states the

following grounds for this notice and motion:

   1. Movant has experienced irreconcilable differences with its client Jane Doe regarding

       Movant’s further representation even though Movant clearly explained to Jane Doe

       regarding the limited scope and time of representation and further schedules in this case

       since the Defendant’s motion to dismiss the complaint was filed against her.

   2. Jane Doe has been given additional time to respond to the Defendant’s motion to dismiss

       the complaint. Jane Doe’s response due date has been extended to December 28, 2018 and

       Defendant’s reply to January 7, 2019. A hearing on the motion will be scheduled if deemed

       necessary by the Court. This withdrawal motion will not cause any prejudice or delay to

       the parties in this case. Jane Doe has at all times been informed and aware of the motion




                                                1
      Case 5:18-cv-01100-BKS-TWD Document 15 Filed 12/03/18 Page 2 of 4



       and the limited scope of Movant’s representation and the need for Plaintiff to obtain new

       representation.

       WHEREFORE, Movant requests respectfully that this Court grant Park Legal Counsel

Group, PLLC leave to withdraw as counsel in the above-captioned matter, and enter an order

stating that Movant has so withdrawn.



Dated: December 3, 2018

                                                   Respectfully Submitted,

                                                   Park Legal Counsel Group, PLLC
                                                   By: /s/ Joon H. Park
                                                   Joon H. Park (NDNY 700423)
                                                   140 Broadway, New York, NY 10005
                                                   T: 212-858-7580
                                                   F: 917-720-9820

                                                   Attorneys for Plaintiff




                                               2
Case 5:18-cv-01100-BKS-TWD Document 15 Filed 12/03/18 Page 3 of 4




                     CERTIFICATE OF SERVICE


I do hereby certify that I have on December 3, 2018 electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of
filing to counsel of record.


                                                           /s/ Joon H. Park
                                                                Joon H. Park




                                        3
      Case 5:18-cv-01100-BKS-TWD Document 15 Filed 12/03/18 Page 4 of 4



                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF NEW YORK


     JANE DOE,                                     )
                                                   )
                             Plaintiff,            )   Case No.: 5:18-cv-01100-BKS-TWD
                                                   )
                        v.                         )
                                                   )
                                                   )   [PROPOSED] ORDER GRANTING
                                                   )   MOTION TO WITHDRAW AS
                                                   )   COUNSEL FOR PLAINTIFF
     SYRACUSE UNIVERSITY,                          )
                                                   )

                             Defendant.




       Park Legal Counsel Group, PLLC seeks to withdraw as counsel for Plaintiff in the above-

captioned litigation pursuant to Local R. 83.2. As this Court finds that Movant has submitted

satisfactory reasoning for withdrawal, and that the granting of this Motion will not cause

substantial prejudice or delay to any party,

       IT IS HERELY ORDERED that Park Legal Counsel Group, PLLC’s Motion to Withdraw

as Counsel for Plaintiff is GRANTED, and same law office is hereby terminated as counsel in this

proceeding.


DATED: _________________                        By: ____________________________
                                                    Hon. Brenda K. Sannes
                                                    United States District Court




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